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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                          CASE NO. 8:09-CR-442-T-EAK-TGW


LUZ DARY MUNOZ POSADA
                                            /

                                                  ORDER


        This cause comes before the Court on the defendant’s motion for reduction of sentence, the
requested modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Doc. 241) . The Court also has before it the U.S. Probation Office Amendment Assessment
(Doc. 219) and the response of the government (Doc. 248). The Court has reviewed the motion and the
Amendment Assessment for the United States Probation Office and the government response. The Court
concludes that the defendant is not eligible for a reduction in sentence based on the amended guidelines
and adopts their position that the defendant is not eligible for a reduction in sentence because his
guideline range was not lowerer.    Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 17th day of February, 2016.




Copies furnished to: All Counsel of Record
